   CASE NUMBER: 502018CA008978)000(MB Division: AJ
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      FORM 1.997. CIVIL COVER SHEET
      The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
      or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
      Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
      completion.)



                      CASE STYLE
                                           IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT,
                                            IN AND FOR PALM BEACH COUNTY, FLORIDA




                                                                        Case No.:__________________
                                                                        Judge:
       Chloe Speakman
       Plaintiff
                     vs.
      The Breakers of Palm Beach Inc
      Defendant


           II.         TYPE OF CASE

                                                                                  0    Non-homestead residential foreclosure
                   El Condominium                                                      $250,00 or more
                   D Contracts and indebtedness                                        Other real property actions $0 $50,000
                                                                                                                     -



                   0 Eminent domain                                                    Other real property actions $50,001 $249,999
                                                                                                                          -



                   0 Auto negligence                                              0    Other real property actions $250,000 or more
                   0 Negligence other
                                -



                      0   Business governance                                     E    Professional malpractice
                      o Business torts                                                   0      Malpractice business
                                                                                                           -




                      0   Environmental/Toxic tort                                       0      Malpractice medical
                                                                                                           -




                      O   Third party indemnification                                           Malpractice other professional
                                                                                                           -




                      0   Construction defect                                          Other
                      0   Mass tort                                                      U Antitrust/Trade Regulation
                      0   Negligent security                                             0      Business Transaction
                      O   Nursing home negligence                                        U Circuit Civil Not Applicable
                                                                                                           -




                      El  Premises liability commercial
                                          -
                                                                                         0      Constitutional challenge-statute or
                                                                                                ordinance
                      0   Premises liability residential
                                          -



                   0 Products liability
                                                                                         U Constitutional challenge-proposed
                                                                                                amendment
                   0 Real Property/Mortgage foreclosure
                                                                                         U Corporate Trusts
                      O   Commercial foreclosure $0 $50,000
                                                   -
                                                                                                Discrimination-employment or other
                      El  Commercial foreclosure $50,001 $249,999
                                                        -
                                                                                         0      Insurance claims
                      El Commercial foreclosure $250,000 or more                         0      Intellectual property
                      O   Homestead residential foreclosure $0 50,000
                                                            -
                                                                                         O      Libel/Slander
                      O   Homestead residential foreclosure $50,001
                          $249,999
                                                                    -
                                                                                         U Shareholder derivative action
                      0 Homestead residential foreclosure $250,000 or
                                                                                         U Securities litigation
                          more                                                           O      Trade secrets
                      O Non-homestead residential foreclosure $0                         0      Trust litigation
                                                                -


                          $50,000
                      0 Non-homestead residential foreclosure
                          $50,001 $249,999
                                    -




                                                  COMPOSITE EXHIBIT "A"

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                                                 COMPLEX BUSINESS COURT

        This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
        Administrative Order. Yes E No


        III.    REMEDIES SOUGHT (check all that apply):
                      Monetary;
                      Non-monetary declaratory or injunctive relief;
                      Punitive

        IV.     NUMBEROFCAUSESOFACTION:(                   )
                (Specify)




        V.      IS THIS CASE A CLASS ACTION LAWSUIT?
                    E Yes
                                                                                          4,
                       No

        VI.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                      No
                   E Yes If "yes" list all related cases by name, case number and court:
                            -




        VII.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                       Yes
                    E No



I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature sl Christopher C Copeland         FLBarNo.: 938076
          Attorney or party                                               (Bar number, if attorney)

        Christopher C Copeland           07/16/20 18
                (Type or print name)                                         Date
   CASE NUMBER: 502018CA008978)OO(XMB Division: AJ
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                                       IN THE CIRCUIT COURT OF THE
                                       1 5TH JUDICIAL CIRCUIT, IN AND
                                     FOR PALM BEACH COUNTY, FLORIDA
                                                    Civil Division
                                          CASE NO.


            CHLOE SPEAKMAN,
                                                                                                   5
            vs.
                   Plaintiff,


                                                                                        4)
                                                                                          4
            THE BREAKERS OF PALM BEACH, INC.,

                   Defendant.
                                                           /


                                                    COMPLAINT
                   Plaintiff, CHLOE SPEAKIvIAN ("SPEAKMAN" or "Plaintiff'), through counsel, files this

            Complaint suing the Defendant, THE BREAKERS OF PALM BEACH, iNC. ("BREAKERS" or

            "Defendant"), and alleges:

                                                  INTRODUCTION

                   1.      Plaintiff, a fonner employee for the Defendant, bñngs this action against the

            Defendant under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000(e) et. seq.; and, the

            Florida Civil Rights act §760.01-760.1l, Florida Statutes (2008).

                                           JURISDICTION AND VENUE

                   2.      This' is an action for damages exceeding $15,000.00 for discrimination in

            employment, based n Plaintifi's sex (Female/Pregnancy Status).

                   3.      All miterial acts and occurrences described herein occurred within Palm Beach

            County, Florida.




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                                                                                               Complaint
                                                                                               Page 2 of 8



            4.    SPEAKMAN is a female and at all relevant times was a resident of Palm Beach

   County, Florida.

            5.    The Defendant, BREAKERS, is a Florida corporation, doing business in Palm

   Beach County, Florida, which manages and a resort hotel and spa in Palm Beach County.

                                                                                                 '
                                                FACTS                                   I'
                                                                                         -,




            6.    Plaintiff was first employed by the Defendant in or around February 18, 2016 and

   was terminated from her position of employment with Defendant on or about September 22, 2017.

            7.    Defendant at all times material hereto acted as the Plaintiff's employer and is solely

   liable and responsible for the damages sought herein

            8.    At all times material hereto Plaintiff was employed by Defendant in the Design

   Studio at the BREAKERS located at One South County Road, Palm Beach, Florida 33480 as a

   Design Studio Manager. Plaintiff's direct supervisor and manager was at all relevant times Chris

   Casey.

            9.    Mr. Casey held and professed his belief in the workplace and constantly advised

   Plaintiff and others directly and/or indirectly that she or other women should not work if they plan

   on becoming pregnant or having children.

            10.   Sometime during the last year of her employment Plaintiff was witness to

   conversations whereby Mr. Casey expressed his frustration that a fellow female employee was out

   on maternity leave and expecting to give birth to a child when he said, among other things, "We

   are stuck with her now. We either deal with her or push her down the stairs." Mr. Casey would

   regularly make negative or derogatory remarks related to any female that was pregnant or out of

   work on maternity leave.
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                                                                                                 Complaint
                                                                                                Page 3 of 8



          11.     Mr. Casey would regularly express his frustration that female workers were allowed

   to take maternity leave, and give female employees a hard time whenever they sought or required

   an absence from work because of or related to their pregnancy, while males seeking leave for

   personal reasons were never questioned.

          12.     Prior to being fired, Plaintiff advised Mr. Casey that she and her husband were

   considering having another baby. Mr. Casey responded by advising Plaintiff that doing so was not

   a good idea and discouraged Plaintiff from doing so.

          13.     Approximately two weeks before being terminated, and after a fellow female

   worker returned from her maternity leave, Plaintiff advised Mr. Casey, and others at work, that

   she and her husband were going to start trying to have a baby immediately. Mr. Casey expressed

   no words of encouragement and seemed upset by that fact. Two weeks later, on or about

   September 22, 2017, Plaintiff was fired without cause, and without warning by Mr. Casey.

          14.     Plaintiff was advised at the time ofher termination that she was being fired for work

   performance related issues. Such assertions are false as Plaintiff outperformed all other and prior

   employees in her job, met or exceeded all expectations, was never written up or disciplined or

   otherwise advised or warned that there was any issue with her work performance, let alone any

   issue that would warrant her termination.

          15.     Plaintiff's termination was wrongfiul, the reasons given by Defendant were

   pretextual and the true reason for her termination was because she had expressed her intent to

   become pregnant and have another child.
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                                                                                                Complaint
                                                                                               Page 4 of 8



          16.     Plaintiff was immediately replaced by another female, who upon information and

   believe was far less qualified than Plaintiff and who it is believed expressed to Defendant that she

   had no intention of becoming pregnant or having children.

          17.     All conditions precedent have been satisfied and/or waived.

          18.     Specifically, on or about October 5, 2017 SPEAKMAN filed a Charge of

   Discrimination with the U.S. Equal Employment Opportunity Commission ("EEOC") and the

   Florida Commission on Human Relations alleging she was discriminated against on the basis of

   sex and her intentions to become pregnant, a copy of which is attached as Exhibit "A".

          19.     The EEOC investigated those allegations and issued a Right to Sue Notice on April

   30, 2018, a copy of which is attached hereto as Exhibit "B".

          20.     SPEAKMAN has retained the undersigned counsel/firm to represent her in this

   matter and agreed to pay a reasonable fee.

                 COUNT I Pregnancy Discrimination
                             -                              -   Florida Civil Rights Act

          21.     The allegations in paragraphs 1 through 20 are reasserted herein.

          22.     This is a claim for damages and injunctive relief under the Florida Civil Rights Act

   of 1992, Fla. Stat. 760 et seq., for sex and pregnancy discrimination.

          23.     Plaintiff has complied with all conditions precedent to the filing of this claim as

   required under Florida Statutes, Chapter 760. A Charge of Discrimination was filed by Plaintiff

   with the Equal Employment Opportunity Commission in a deferral State within 300 days of the

   alleged unlawful employment practice.        The charge was thus dual filed with the Florida

   Commission on Human Relations.           Plaintiff has filed this suit within four years of the
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                                                                                                  Complaint
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   discriminatory acts, after the charge has been pending with FCHR for more than 180 days. All

   administrative prerequisites have been satisfied and this suit is timely filed.

          24.     Plaintiffs sex and her expressed intentions to become pregnant were motivating

   factors in Defendant's decision to terminate her employment. Moreover, Plaintiff would not have

   been terminated but for her sex and prospective condition associated with her attempts to become

   pregnant. Any other reasons Defendant articulates for the termination are deliberately pretextual.

          25.     The above described discrimination was done by Defendant intentionally, willfully

   and maliciously and with a reckless disregard for Plaintiffs rights. As a result, Plaintiff has

   suffered damages.

          26.     As a direct and proximate result of Defendant's willful, knowing and intentional

   discrimination against her, Plaintiff has suffered and will continue to suffer pain and suffering,

   mental anguish and emotional distress and she has suffered and will continue to suffer a loss of

   earnings and other employment benefits and job opportunities. Plaintiff is thereby entitled to

   general and compensatory damages in amounts to be proven at trial.

          27.     As a further direct and proximate result of Defendant's violation of the FCRA, as

   heretofore described, Plaintiff has been compelled to retain the services of counsel in an effort to

   enforce the terms and conditions of the employment relationship with Defendant and has thereby

   incurred, and will continue to incur, legal fees and costs, the full nature and extent of which are

   presently unknown to Plaintiff. Plaintiff requests that attorneys' fees and costs be awarded

   pursuant to Florida law.

          28.     Plaintiff is informed and believes, and based thereon alleges, that the outrageous

   conduct of Defendant described above was done with oppression and malice, with a conscious
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                                                                                                  Complaint
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   disregard for her rights and with the intent, design and purpose of injuring her. Plaintiff is further

   informed and believes that Defendant through its officers, managing agents and/or its supervisors,

   authorized, condoned and/or ratified the unlawful conduct of its employees and managers. By

   reason thereof, Plaintiff is entitled to punitive or exemplary damages from Defendant in a sum

   according to proof at trial.

          29.     Plaintiff has been compelled to retain the services of counsel in an effort to remedy

   the discrimination she suffered in her employment relationship with Defendant and has thereby

   incurred, and will continue to incur, legal fees and costs, the full nature and extent of which are

   presently unknown to Plaintiff. Plaintiff requests that attorneys' fees and costs be awarded

   pursuant to Florida law

          WHEREFORE, Plaintiff demands judgment against Defendant in the form of economic

   damages, back pay and front pay, compensatory and emotional distress damages, injunctive relief

   and reinstatement, prejudgment interest, attorney's fees and costs, punitive damages, and any other

   such relief that the Court deems appropriate.

                                         COUNT II
                Pregnancy Discrimination Title VlliPregnancy Discrimination Act
                                              -




          30.      The allegations in paragraphs 1 through 20 are reasserted herein.

          31.      This is a claim for damages and injunctIve relief under the Pregnancy

   Discrimination Act, Title VIL'PDA of the Federal Civil Rights Act of 1964 as amended., for sex

   and pregnancy discrimination.

          32.     Plaintiff has complied with all conditions precedent to the filing of this claim as

   required under Title VII/PDA of the Federal Civil Rights Act of 1964 as amended. All

   administrative prerequisites have been satisfied and this suit is timely filed.
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                                                                                                  Complaint
                                                                                                 Page 7 of 8



           33.     Plaintiff's sex and her expressed intentions to become pregnant were motivating

   factors in Defendant's decision to terminate her employment. Moreover, Plaintiff would not have

   been terminated but for her sex and intended condition associated with attempts to become

   pregnant. Any other reasons Defendant articulates for the termination is deliberately pretextuaL

           34.     The above described discrimination was done by Defendant intentionally, willfully

   and maliciously and with a reckless disregard for Plaintiff's rights. As a result, Plaintiff has

   suffered damages. As a direct and proximate result of Defendant's willful, knowing and intentional

   discrimination against her, Plaintiff has suffered and will continue to suffer pain and suffering,

   mental anguish and emotional distress and she has suffered and will continue to suffer a loss of

   earnings and other employment benefits and job opportunities. Plaintiff is thereby entitled to

   general and compensatory damages in amounts to be proven at trial.

           35.     Plaintiff is informed and believes, and based thereon alleges, that the outrageous

   conduct of Defendant described above was done with oppression and malice, with a conscious

   disregard for her rights and with the intent, design and purpose of injuring her. Plaintiff is further

   informed and believes that Defendant through its officers, managing agents and/or its supervisors,

   authorized, condoned and/or ratified the unlawful conduct of their employees and managers. By

   reason thereof, Plaintiff is entitled to punitive or exemplary damages from Defendant in a sum

   according to proof at trial.

           36.     Plaintiff has been compelled to retain the services of counsel in an effort to remedy

   the discrimination/retaliation she suffered in her employment relationship with Defendant and has

   thereby incurred, and will continue to incur, legal fees and costs, the full nature and extent of which
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                                                                                                Page 8 of 8



   are presently unknown to Plaintiff. Plaintiff requests that attorneys' fees and costs be awarded

   pursuant to Federal law.

           WHEREFORE, Plaintiff demands judgment against Defendant in the form of economic

   damages, back pay and front pay, compensatory and emotional distress damages, injunctive relief

   and reinstatement, prejudgment interest, attorney's fees and costs, punitive damages, and any other

   such relief that the Court deems appropriate.

                                 DEMAND FOR TRIAL BY JURY

           Pursuant to Fla.R.Civ.P. 1.430(b), Plaintiff hereby demands a trial by jury on all issues

   triable of right by a jury.

                                                   CHRISTOPHER C. COPELAND, P.A.
                                                   824 W. Indiantown Road, Jupiter, FL 33458
                                                   Primary e-mail: Chris@CopelandPA.com



                                 '4                Secondary e-mail: Carla@CopelandPA.com
                                                   561-691-9048 (office); 866-259-0719 (fax)
                                                   1sf Christopher C. Coneland
                                                   CHRISTOPHER C. COPELAND, ESQ.
                                                   Florida Bar #938076
                                                   Attorney for Plaintiff




       A
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                                                          C)
                                             $)
                                        44

              EXHIBIT "A"
Case 9:18-cv-81106-DMM Document 1-1 Entered on FLSD Docket 08/17/2018 Page 12 of 16
                                                                          Raccived

                                                                  DCI 05 2017
                                                                                       Charge Presented to:        Agency(ies) Charge No(s):
                CHARGE 01 DISCRIMINATI                            NCMiamifljsuWIO
         TMa form Is uftccted by th P,lvacy Act o 1974. Se endoud PrIvacy Act          -
                                                                                             FEPA
               S                   rrQfTTaUOflbCfoflpIettflgthI$Icfm.
                                                                                       .     EEOC     57) —Z.p /                          73
                         Florida Commission on Human R&ations (FCHR) and EEOC
                                                State orlocalAgency, if any
Name (indicate Mr. Ms. Mrs.)                                        Home Phone (md. Area Code)                               Date of Birth
Chloe Speakman                                                  561  -358-9809                                           102/11/1987
Street Address                                   City, State and ZIP Code
 126 Cape Pointe Circle, Jupiter, Florida 33458
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I believe Disciiminated Against Me or Others. (If more than two list underPARTlCULARS below.)
Name                                                                 No. Employees, Members   Phone No. (Include Area Code)
The Breakers Palm Beach, Inc.                                        100+                     877-724-4058
Street Address                                          City, State and ZIP Code
 One South County Road, Palm Beach, FL 33480
Name                                                                            No. Employees, Members        Phone No. (Include Area Code)

Street Address                                                   City, State and ZIP Code

DISCRIMINATION BASED ON (Check appmpriate box (as).)                                                  DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                        Earliest               Latest
_RACE          _COLOR                 SEX        RELIGION             NATIONAL ORIGIN                  Feb2016         September22, 2017

   RETALIATION                AGE          DISABILITY              OTHER (Specify below.)             ...L.. CONTINUING ACTION
-                                                                 .




THE PARTICULARS ARE (If additional paperis needed, attached extra sheet(s)):
Within the last year my employer made various discriminatory remarks regarding a pregnant employee who
was out on maternity leave; on one occasion saying, "we are stuck with her now; we either deal with her or
push her down the stairs". He continuously expressed his frustration about having this employee on maternity
leave. Around the same time, we had a conversation where I disclosed that my husband and I were
considering expanding our family and having another baby. My boss's response was that he did not believe
 that was a good idea. I waited until the pregnant employee returned from maternity leave and then proceeded
 to let my boss know that my husband and I were going to start trying to have another baby immediately. Two
 weeks later, I was suddenly terminated by him and told that it was due to work performance issues. This
 cannot be true as 1 have excelled in my position and my sales have exceeded those of the person who held
 the position before me. I strongly believe that I was terminated because of my plans to become pregnant
and/or take maternity leave.

 I believe I have been discriminated against by the above named employers and retaliated against in violation
 of Title VII of the Civil Rights Act as amended, The Pregnancy Discrimination Act, as amended, The Florida
 CMI Rights Act, as amended and any other law that prevents discrimination because of sex or pregnancy.
 I want this charge filed with both the EEOC arid the State or local Agency,           NOTARY Whet, neceasajy for State and LocaiAgency
                                                                                                  -


 If any. Iwill advise the agencies if I change my address or phone number              Requirements
 and I Will cooperate fully with them in the processing of my charge In
 accordance with their procedures.


 Ideclare under penalty of perjury that the above is true and                           I swear or affirm that Ihave read the above charge and
  orrect.                                                                               that it is true to the best of my knowledge, information and
                                                                                        belief.
                                                                                        SIGNATURE OF COMPLANANT




     i
   Date
            9(             _______________________
                              Cha   g Party Sign(tu
                                                                                        SUBSCRIBED AND NORN TO BEFORE ME THIS DATE
                                                                                        (month, day, yea!)
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                                                          C)


              EXHIBIT "B"
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EEOC rorm 161-s ii,in                  U.S. EQUAL EMPLOYMENT OPPORTUNiTY COMMISSION

                                     NOTICE OF RIGHT TO SUE (IssuED ON REQUEST)
To:    Chloe Speakman                                                                 From:    Miami District Office
       126 Cape Pointe Circle                                                                  Miami Tower, 100 S E 2nd Street
       Jupiter, FL 33458                                                                       Suite 1500
                                                                                               Miami, FL 33131




       [J      On behalf of pwson(s) aggrieved whose identity is
               CONFiDENTIAL (29 CFR 16O1.7(a))

EEOC Charge No.                                      EEOC Representative                                            Telephone No.
                                                     MICHAEL S. MATHELIER,
510-2018-00073                                       Investigator                                                   (305) 808-1797
                                                                               (See alsø the additional information enclosed with this form.)
NOTIcE TO ThE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, Issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WIThIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a daim under
state law may be different.)

                More than 180 days have passed since the filing of this charge.

       LJ       Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                be able to complete its administrative processing within 180 days from the filing of this Charge.

       IKJ      The EEOC Is terminating its processing of this charge.
                The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed acllon on the charge. In this regard, the paragraph marked below applies to
your case:
                The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

       c:i      The EEOC is continuing its handling of your ADEA case. However, if 80 days have passed since the filing of the charge,
                you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA); You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willftul violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                        On behalf of the Commission

                                                                                                                   4PR      30 2fl8
 Enclosures(s)                                                     MICHAEL .1. FARRELL,                                   (Date Mailed)
                                                                       District Director

 cc:         Kristy Pressly, General Counsel                                          Chris Copeland
             THE BREAKERS PALM BEACH, INC                                             CHRISTOPHER COPELAND
                                                                                      824 W. Indiantown Road
             I S. County Rd                                                           Jupiter, FL 33458
             Palm Beach, FL 33480
   CASE NUMBER: 502018CA008978)000(MB Division: AJ
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                                             IN THE CIRCUIT COURT OF THE
                                       15TH    JUDICIAL CIRCUIT, IN AND FOR
                                            PALM BEACH COUNTY, FLORIDA

                                                      Civil Division
                                       CASE NO.
                                                   __________




            CHLOE SPEAKMAN,

                   Plaintiff(s),                                                                     5
            vs.

            THE BREAKERS OF PALM BEACH, INC.,
                                                                                             4)
                                                                                               4
                   Defendant.
                                                                       /
                                                      SUMMONS

            THE STATE OF FLORIDA
            To Each Sheriff of the State:

            YOU ARE HEREBY COMMANDED to serve this summons and a copy of the Complaint in
            this action on Defendant:

                                     THE BREAKERS OF PALM BEACH, INC.
                                    do Registered Agent, D. Kristen Pressley, Legal
                                                  at: 40 Cocoanut Row
                                                 Palm Beach, FL 33480

                                              or at: One South County Road
                                                  Palm Beach, FL 33480
            Defendant is required to serve written defenses to the Complaint on Plaintiff's attorney to wit:
            Christopher C. Copeland, Esq., 824 W. Indiantown Road, Jupiter, FL 33458 (561/691-9048)
            (primary e-mail: ChrisCopelandPA.com; secondary e-mail: Carla(CopelandPA.com) within
            20 days after service of this summons on the Defendant, exclusive of the day of service, and to
            file the original of the defenses with the Clerk of this Court either before service on plaintiff's
            attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
            against the Defendant for the relief demanded in the Complaint.

                   Dated on
                                   Jul 172018                                .2018.

                                                                 SHARON R. BOCK
                                                                 Clerk of the Court




                                                                              Deputy Clerk
                                                                           Ashley Meriweather


FILED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK, 07/16/2018 04:52:15 PM
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